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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re                                                          :      Case No. 21-11854-DSJ
                                                               :
ASCENTRA HOLDINGS, INC.                                        :      Chapter 15
(in Official Liquidation),1                                    :
                                                               :
                  Debtor in a Foreign Proceeding.              :
---------------------------------------------------------------x

                                      CERTIFICATE OF SERVICE

          I, Jeffrey M. Dine, am over the age of eighteen years, and am employed by Pachulski Stang

Ziehl & Jones LLP. I am not a party to the within action; my business address is 780 Third Avenue,

34th Floor, New York, New York 10017-2024.

          On March 14, 2024, I served a true and correct copy of each of the following documents

via electronic mail upon the parties set forth on the service list annexed hereto as Exhibit 1:

               •     Reply Memorandum Of Law In Further Support Of Motion Of Shang Peng Gao Ke Inc. SEZC

                     And SPGK PTE LTD. Pursuant To 11 U.S.C. §§ 1517(D) And 1520(C) For An Order

                     Terminating The Recognition Order

               •     Reply Declaration Of Jeffrey M. Dine In Further Support Of Motion Of Shang Peng Gao Ke

                     Inc. SEZC And SPGK PTE LTD. Pursuant To 11 U.S.C. §§ 1517(D) And 1520(C) For An

                     Order Terminating The Recognition Order

Dated: March 14, 2024                                              /s/ Jeffrey M. Dine
                                                                       Jeffrey M. Dine




1
     The Debtor’s company registration number is 283719. The Debtor’s registered office is c/o JTC (Cayman) Ltd.,
     94 Solaris Avenue, Second Floor, Camana Bay, PO Box 30745, Grand Cayman, Cayman Islands, KY1-1203.




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                                              EXHIBIT 1

  Via Electronic Mail

Pillsbury Winthrop Shaw Pittman LLP                  Pillsbury Winthrop Shaw Pittman LLP
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Kwame Akuffo                                         725 South Figueroa Street, 36th Floor
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